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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 NICOLE RULLI, et al,                              )
                                                   )       Civil Action No. 2:20-cv-00965
                        Plaintiffs,                )
                                                   )       Magistrate Judge Lisa Pupo Lenihan
                        v.                         )
                                                   )
 CITY OF PITTSBURGH, et al,                        )
                                                   )
                        Defendants.                )


         ORDER REFERRING CASE TO ALTERNATIVE DISPUTE RESOLUTION

         After due consideration of the issues and in consultation with the parties, the Court finds

this case is appropriate for referral to an alternative form of dispute resolution as provided by

the local rules of this Court.

         IT IS HEREBY ORDERED:

         (a)    Referral to ADR: This case is referred to: Mediation. David White is appointed

to serve as the Mediator. Compensation of the neutral will be as follows: 50% by Plaintiff(s)

and 50% by Defendant(s). Compensation shall be paid directly to the neutral upon the

conclusion of the ADR process. Failure to pay the neutral shall be brought to the attention of the

Court.

         (b)    Conduct of ADR Conference(s): The ADR conference(s) shall be conducted in

accordance with Local Rule 16.2 and the Court’s ADR Policies and Procedures.

         (c)    Scheduling ADR Conference(s): The ADR conference(s) shall be concluded

before May 28, 2021, unless extended by order of the Court. The ADR conferences may be

conducted at any location agreed to by the parties, counsel, and the assigned neutral.
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       (d)     Designation of Lead Counsel: Margaret Schuetz Coleman is designated as lead

counsel and shall be responsible for working with the parties and the neutral to coordinate an

agreeable date, time and location for the initial ADR conference.

       If the parties are utilizing a private process, the case is still governed by the Court’s Local

Rules and ADR Policies and Procedures. When private processes are used, it is the responsibility

of counsel to ensure that all of the proper forms are timely submitted and filed, as required by

Policies and Procedures.

       The parties are hereby notified that any individual neutral (Court approved or private) is

required to become a registered user of the Electronic Case Filing System (ECF) in the United

States District Court for the Western District of Pennsylvania. Counsel shall so notify their

agreed upon neutral and refer them to the Court’s website at www.pawd.uscourts.gov for user

registration forms. Counsel shall confirm to the Court that the selected neutral has completed the

process.

       Nothing in this order alters the Initial Scheduling Order previously entered in this case.

All deadlines set forth in the Initial Scheduling Order remain in full force and effect.

       SO ORDERED this 15th day April, 2021.




                                                              s/ Lisa Pupo Lenihan
                                                              Lisa Pupo Lenihan
                                                              United States Magistrate Judge




cc:    Counsel of record.
